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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 SVITLANA DOE, et al.,

                               Plaintiffs,

        – versus –                                       Civil Action No.: 1:25-cv-10495-IT
 KRISTI NOEM, in her official capacity as Secretary
 of Homeland Security, et al.,

                               Defendants.

               PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiffs respectfully submit this notice of supplemental authority to alert the Court of

recent legal developments relevant their pending motion for preliminary relief to be argued on

Monday, April 7, 2025, regarding Defendants’ indefinite suspension of processing pending

requests for parole or re-parole through several “categorical” parole processes, as well as

Defendants’ suspension of processing other immigration applications that would benefit parolees

in the United States by virtue of two of those parole processes. See Order, Doc. No. 58.

       First, on March 25, 2025, the Ninth Circuit Court of Appeals denied in part the federal

government’s request to stay a preliminary injunction of its indefinite suspension of the U.S.

Refugee Admissions Program (USRAP), including refugee arrivals and funding to resettlement

agencies. Order, Pacito v. Trump, No. 25-131, ECF 28.1 (9th Cir. Mar. 25, 2025), attached as

Exhibit A. The district court in Pacito granted a preliminary injunction after holding that the

plaintiffs were likely to succeed on their claims that the challenged actions were (inter alia)

arbitrary and capricious as well as ultra vires, Pacito v. Trump, __ F. Supp. 3d __, 2025 WL

655075 (W.D. Wash. Feb. 28, 2025), attached as Exhibit B. The Ninth Circuit’s brief order denied

the government’s request to stay the preliminary injunction as to those USRAP applicants abroad

who had been “conditionally approved for refugee status” before January 20, 2025, Ex. A at 2, of
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which there are more than one hundred thousand.1 The Ninth Circuit’s refusal to lift the stay as to

conditionally approved applicants—which was sua sponte, as no party even suggested

distinguishing conditionally approved applicants from others abroad whose USRAP applications

were not yet filed or were filed but not conditionally approved—supports Plaintiffs’ request here

to preliminarily enjoin Defendants from continuing their indefinite suspension of the relevant

parole processes at least as to conditionally approved applications, including that of Plaintiff Rosa

Doe, a parent whose CAM application for her teenage daughter to join her was conditionally

approved in November 2024, see Rosa Doe Decl., Doc. No. 24-16 ¶ 8, and that of Plaintiff Valentin

Rosales, whose Family Reunification Parole (FRP) application for his daughter to join him was

conditionally approved in December 2024, see Rosales Decl., Doc. No. 24-12 ¶¶ 11-12; see also

Pls.’ Mem. In Supp. of [1st] Mot. for. Prelim. Inj., Doc. No. 25 at 22.

       Second, on March 31, 2025, Judge Chen of the Northern District of California granted

plaintiffs’ request under 5 U.S.C. § 705 to postpone the effective date of Secretary of Homeland

Security Noem’s decision to vacate a prior extension of Temporary Protected Status (TPS) for

Venezuelans and then, a few days later, to terminate TPS for approximately 350,000 Venezuelans

based on her conclusion that their continued presence is contrary to the national interest of the

United States. Nat’l TPS Alliance v. Noem, __ F. Supp. 3d __, 2025 WL 957677 (N.D. Cal. Mar.

31, 2025), attached as Exhibit C; see also Second Am. Compl, Doc. No. 68 ¶¶ 114-15. Numerous

aspects of Judge Chen’s decision support Plaintiffs here, including its discussion of the

reviewability of the challenged discretionary decisions, see 2025 WL 957677 at *16-17;

irreparable injury, see id. at *20-24 the public interest and balance of the equities, id. at * 24-27;




1
 Church World Service, Daily State of Play: Trump’s Indefinite Refugee Ban and Funding Halt,
https://bit.ly/4iWEoks (last visited Apr. 3, 2025).


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arbitrary and capricious agency action, see id. at 34-36; and the appropriateness of nationwide

relief in cases of this nature, see id. at 45-46.2

    Dated: April 4, 2025                                 Respectfully submitted,

                                                         /s/ Esther H. Sung
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  Relevant to the CHNV processes and parolees—to be taken up separately by the Court on April
10, 2025—the practical effect of Judge Chen’s decision is that eligible Venezuelans can continue
to live and work in the United States for eighteen (18) additional months, which deepens the injury
of the putative class members who are Venezuelans with pending TPS applications that are not
being adjudicated because of the Davidson memorandum. Cf. Termination of the Oct. 3, 2023
Designation of Venezuela for Temporary Protected Status, 90 Fed. Reg. 9040, 9042 (Feb. 5, 2025
(“DHS estimates that 33,600 CHNV parolees from Venezuela availed themselves of TPS.”).


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                                 CERTIFICATE OF SERVICE

I, Esther H. Sung, hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

Dated: April 4, 2025

                                              /s/ Esther H. Sung
                                              Esther H. Sung




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